Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 1 of 56




               Exhibit A
Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 2 of 56




                     TAB 1
    Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 3 of 56



January 7, 2020

Honorable Allison D. Burroughs
United States District Judge
John Joseph Moakley U.S. Courthouse
1Courthouse Way, Suite 2300
Courtroom 17, 5th Floor
Boston, MA 02210

Re: Karen Littlefair



Dear Judge Burroughs:

This letter is in support of my most beloved friend Karen Littlefair. Karen and I share a
close bond of friendship of more than 37 years, having first met her when she and my
sister became sorority sisters in college. Karen represents resilience, innovation, hard
work, pride in her heritage, lightheartedness combined with a seriousness of purpose.
She is honest, dependable, faith-filled, and family-driven.

I first became aware of Karen's good character well before I got to college. Having an
older sister that was in Karen's class, I would tag along to many college activities. These
activities would involve being with Karen's family; I found out early on that Karen has
always been responsible and focused, as a successful and well-respected hard-working
employee, and more importantly, a dedicated and loving wife, mother, daughter, sibling,
and aunt. Coming from an active Italian family once led by her father, family means
everything. Ernie and Gloria instilled in Karen and her siblings the true meaning of family.
She is the glue that holds each of these immediate families together and functioning, and
Karen has taken this to the community as well while volunteering and endless fundraising.

Karen's dedication to her family is strong. She has handled and overseen the adversity
that has hit her family and therefore became the anchor for the entire family. Since her
husband's business demanded constant travel, she faced these hurdles on her own, even
taking care of her husband's mother. Karen's father endured a lengthy illness and
ultimately the death of her father. During this tough and emotional time, Karen also had
to pack up and move her mother into a new home. While Karen was providing emotional
support for her mother, her brother-in-law was diagnosed with a rare brain disease and
passed away suddenly, leaving everyone, especially her sister, paralyzed and thus adding
another unbearable task to undertake. These tragic events were running parallel to her
priority of taking care of her two boys, which are the center of her world.

In our conversations about her legal problems; she never tried to shift moral blame on
others. Karen expressed remorse for her actions.



i
       Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 4 of 56



I hope that what I have described to you will help persuade you for leniency rather than
jail time. I genuinely believe Karen is a better asset to her family and community with
probation, if given the opportunity, Karen will use her experience in this matter to help
others is not making the same mistake. It is in this manner that I believe probation will be
the most beneficial for all concerned.

Thank you. Your Honor, for considering these thoughts as you deliberate on the
appropriate sentence. I stand by Karen throughout this ordeal and am ready to offer
further support to Karen as she may require.

Respectfully yours,




Lisanne Laraneta-Watson
      REDACTED
Los Angeles, CA 90066

/llw




2
Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 5 of 56




                     TAB 2
           Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 6 of 56
   December 20, 2019



  Honorable Allison D. Burroughs
  United States District Judge
  John Joseph Moakley U.S. Courthouse
  1 Courthouse Way, Suite 2300, Courtroom 17, 51h Floor
  Boston, MA 02210

   Re: Karen Littlefair

   Dear Judge Burroughs:

   I'm writing to you on behalf of my sister Karen Littlefair. My name is Christina Newman and I've been
   Karen's sister for the past 55 years. I have many reasons to write strongly about her whom I love and
   respect very much. Karen has been extremely important to me for so long, it's tough to know where to
   begin this letter.

   Karen has been my buddy, my protector, my confidant, a treasured friend, mentor and role model.

  Our father, who was the patriarch of our family, passed away six years ago . My husband, Captain of the
  Newport Beach Police Department, also passed away four years ago. These two deaths were extremely
  traumatic and took huge tolls on our entire family. With this as context, I'd like to write a bit about my
  sister's character. I have never witnessed someone to step in and step up with so much courage,
  passion and purpose during such an enormous time of heartache and loss. Karen became my ROCK and
  the backbone of our entire family. She has shown both grace and grit through it all.

  Clearly, my heart was shattered to lose my father, and then quickly the love of my life, my husband. My
  sister raced to our sides and quickly took over carrying the weight of our entire family. This is something
  I've witnessed her do often throughout our entire community and in my lifetime. When a tragedy
  strikes, Karen immediately rushes in to organize the meals, the cleaning, trips to and from the doctor,
  extra caregivers, and so much more. My own business may have fallen apart, but Karen made sure my
  clients were taken care of and well-informed.

  Our mom is turning 82 this January. I'm eternally grateful for having my sister be the one that my mom
  leans on and turns to for help. Karen is with mom daily and makes sure she gets everywhere she needs
  to go. She ensures my mom is safe and comfortable at all times. Our mom relies heavily on Karen.

  Judge Burroughs, I believe my sister is a great mentor and even after this experience, as more time
  passes, she will be even stronger, smarter and a better mentor. We are a family that sticks together
  through thick and thin. Karen has the ability to touch many lives with her wisdom. She also
  understands the weight and seriousness of what has happened here.

  I hope you will believe me when I say she is truly needed here for many reasons. Karen belongs at home
  to guide others. I will stand by my sister through this trying time like she has always done for me. I will
  remain faithful that you will allow her to be at home to do the work, which our family counts on.



/"c~
~l ristina Newman
      REDACTED
  Costs Mesa, CA 92627
Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 7 of 56




                     TAB 3
DocuSign Envelope ID: C6ED7C63-D677-4CC7-8BF8-AD4B70DC040A
                     Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 8 of 56




            December 31, 2019

            Honorable Allison D. Burroughs
            United States District Judge
            John Joseph Moakley U.S. Courthouse
            1 Courthouse Way, Suite 2300
            Courtroom 17, 5th Floor
            Boston, Massachusetts 02210


            Re: Karen Littlefair

            Dear Judge Burroughs,

            This letter is being presented by me as a testimony of my beloved friend and neighbor
            Karen Littlefair. My words expressed cannot capture the sisterly love I have shared with
            her through our journey of life thus far.

            Karen and I met when our children were babies-toddlers over 25 years ago. We
            became part of the “mother of boy’s club” as there were many boys on Lido Isle at that
            time. We lived 5 doors down from each other and immediately became friends. As
            young stay at home mothers we were busy with our kids but knew we could count on
            each other. We attended bible study together, participated in community activities with
            our kids, and shared our daily ups & downs but lived with hearts of thankfulness.

            As time went by, I developed several autoimmune diseases and was unable to leave
            the house. Karen was the first to arrange a Meal Train, she alerted women to pray and
            she made sure my family was covered. She networked people together to help us cope
            under the new health circumstances which changed my life. Karen’s encouragement
            and support could always be depended upon and is her true gift to others.

            Several years past, and Karen was diagnosed with breast cancer. She was the 5th
            woman within our community diagnosed within the year. I visited feeling helpless since
            she is the strong one who takes charge for everyone else. I sat massaging her feet and
            she said, “you know, once this cancer is gone, we are going to raise awareness within
            our community about cancer and prevention through Hoag Hospital which is our local
            community hospital.”
            That was just like Karen not to dwell on her problem but to use it to help others.
DocuSign Envelope ID: C6ED7C63-D677-4CC7-8BF8-AD4B70DC040A
                     Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 9 of 56




            Thankfully over time, Karen became cancer free so we decided with our former
            backgrounds in finance and event planning that it was time to put ourselves into action.
            We organized women within our community and established the annual Lido Isle Home
            Tour which has supported The Hoag Family Cancer Foundation, the Newport Harbor
            Educational Foundation, the Lido Junior Sailing Foundation and many other nonprofit
            organizations.

            In addition to volunteering within our community, Karen & I volunteered at Mater Dei
            High School where our kids attended. Karen dedicated her time in supporting the
            football team, campus ministries and assisted several students who hard financial
            hardships to remain at the school and continue their education.
            Karen is the rock for her family & friends with her time of support and encouragement.
            Her elderly mother & sister are both widowed and Karen visits with them regularly. She
            schedules and transports her 92+ yr old mother-in-law to the doctors, physical therapy
            and ongoing care. Unfortunately, several friends have been diagnosed with cancer
            recently and Karen has been preparing meals and spending time with them during their
            treatments.
            Karen’s situation at hand is extremely unfortunate….I know Karen’s heart and she is
            very regretful, ashamed and humiliated by her actions. She has taken full responsibility
            for her actions and is very remorseful for the impact it has had on her family and their
            outstanding community reputation.
            It is my hope and prayer that you will see her repentance value in serving others in need
            and that she can do so within the confines of her home.
            Thank you for your valued time and consideration as I share my heart on behalf of a
            great woman of value who made a mistake.


            Best Regards,


            Diana Miner
               REDACTED
            Newport Beach, California 92663
               REDACTED
Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 10 of 56




                     TAB 4
     Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 11 of 56




December 19, 2019




Honorable Allison D. Burroughs
United States District Judge
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300, Courtroom 17, 5 t h Floor
Boston, MA 02210


Re: Karen Littlefair


Dear Judge Burroughs:


I am writing on behalf of Karen Littlefair who is my "sister." I came from Italy at the age of 13 and lived
with the Follico family. Karen was five years of age. Ernie and Gloria Follico "adopted" me and I helped
Gloria raise Karen age five, Tina age three and Anthony age one. Actually, I was raised by Ernie and
Gloria and grew up as part of the family.


Over the years, I have witnessed Karen grow through all the ages: elementary school, high school,
athletics, college, dating, career, marriage and raise her own family. We love each other, and just as
close as we were so many years ago.


Today, in an odd way, our roles are slowly reversing. I live several blocks away as a full-time caregiver
for Marion Littlefair, 94, Karen's mother-in-law. And, I live one block from Gloria, 82, Karen's mother.
Karen is a consistent and loving part of all our daily lives. We all count on her for her connections;
doctors - Hoag Hospital, household help, construction and maintenance help. Karen is the glue today in
our family. I look to her almost daily for advice, counsel, friendship and help. All of us, me, Gloria and
Marion, depend on Karen.


I hope as you decide about Karen's future, you will not remove her from our lives. Let her remain here
where we all count on her.


Thank you.


Sincerely,




Lucy Sansosti
      REDACTED
Newport Beach, CA 92663
Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 12 of 56




                     TAB 5
   Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 13 of 56




                                                                    Roberta Fesler
                                                                          REDACTED
                                                                     Long Beach, CA 98015
                                                                        REDACTED




January 10, 2020

Honorable Allison D. Burroughs
United States District Judge
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Courtroom 17, 5th Floor
Boston, MA 02210
       Re:     Karen Littlefair
Dear Judge Burroughs:
I have known Karen Littlefair for over 22 years. Karen’s family and mine became
neighbors on Lido Isle in Newport Beach, California, in 1996, and we quickly became
friends.
Through the years, I watched with admiration as Karen devoted her life to raising her two
sons and supporting her husband, REDACTED , career. She was always attending one of
the boys’ sporting events, or volunteering at their school. Yet, even with two busy, active
children, she regularly mustered the time and energy to help REDACTED , as he founded and
grew his business.
Throughout these years, Karen was just as devoted to her parents and siblings, and to
REDACTED   mother. Like myself, Karen is \the eldest child of an Italian-American family.
So, I could appreciate on a personal level the responsibilities that she naturally and
willingly assumed to take the lead in dealing with any issues that members of her family
might be facing, be they health-related, marital, emotional, career choices, etc. She
stepped in to provide whatever help and support they needed, and always did so
effectively and without any complaint.
During this time, Karen was diagnosed with breast cancer. She faced this challenge with
the same courage and faith as she approached everything in her life. She never directly
told me, but I could tell that she was determined to appear strong, so her family, most
especially her two boys (who, while still young, were old enough to understand how
serious her diagnosis was), would be less frightened. Her focus was, as always, not on
herself, but on making life as good as possible for those around her.
Karen’s generous and devoted nature was on display yet again after she successfully
completed her treatment for breast cancer. She was so impressed by and grateful for
the care she received that she became committed to raising funds for the Hoag Hospital
Foundation (“Hoag Foundation”), supporting the Hoag Family Cancer Institute facility in
Newport Beach, California.
   Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 14 of 56
                                           Page 2


In addition to personally donating to the Hoag Foundation and participating in its direct
fundraising activities, Karen convinced the Lido Isle Women’s Charitable Foundation
(“Lido Foundation”) to become a patron of the Hoag Foundation. And, for the last
several years, she has coordinated the Lido Foundation’s annual fund raiser for the
Hoag Foundation. Through her efforts, the Lido Foundation has raised so much money
for the Hoag Foundation that it was recognized as a member of the “Diamond Circle,”
the second highest level of contributor to the Hoag Foundation.
Karen’s contributions to her community extend beyond the realm of charity. She served
with me on the Board of Directors of a non-profit corporation, Maintain Our Residential
Neighborhood (“MORN”), which was created to address and eliminate the unregulated
and illegal proliferation of drug treatment facilities in residential areas of Newport Beach.
MORN was a community-based, grass roots organization focused on bringing
awareness to the negative impacts created when drug treatment facilities are located in
residential communities, particularly on those communities’ most vulnerable populations
— children and the elderly, both of which Lido Isle has in abundance. MORN
successfully required the City of Newport Beach to exercise its authority to force
unscrupulous drug treatment facility operators to move out of residential areas. Karen
was deeply committed to MORN’s success and devoted many hours to attending court
proceedings and community meetings related to the problem, above and beyond her
direct participation in the activities of the Board of Directors.
It is my hope that this letter allows Your Honor to have a fuller picture of Karen, so that
you will see the devoted, generous, dedicated, and hard-working mother, wife, daughter,
sister, friend, and community member that those closest to her have come to admire,
respect, count on, and cherish. She can do, and has done, so much good for her
community and her family that I believe it would be contrary to society’s best interests for
her to be incarcerated for any period of time. There is no apparent societal benefit to
incarcerating her for her offense (for which she has taken full responsibility), and I
believe society would benefit more from allowing her to continue her leadership roles
and active participation in the various charitable and civic endeavors to which she is so
committed.
Furthermore, both her mother-in-law and her mother are elderly and depend upon Karen
extensively. They each live very close to Karen, and she is deeply involved in
addressing their needs. Even a brief incarceration would have a significant negative
impact on them and be disruptive to their daily lives. Sparing Karen a sentence which
includes incarceration would allow her to remain available to attend to the needs of
these two vulnerable, elderly women.
Respectfully yours,




ROBERTA FESLER
Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 15 of 56




                     TAB 6
       Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 16 of 56



December 28, 2019




Honorable Allison D. Burroughs
United States District Judge
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Courtroom 17, 5th Floor
Boston, MA 02210


Re: Karen Littlefair


Dear Judge Burroughs,

I am writing this letter as a testament to the high character of my friend and neighbor, Karen
Littlefair. I have known Karen for the past 12 years, having met her soon after our family moved
to Newport Beach in January 2008. We found her to be friendly and welcoming, and we soon
discovered how admired and loved she is in this community. She has a long history of being a
hard worker for her neighborhood, but her work extends far beyond that into a much larger
community where she does all she can for those in need of help, and rallies others to join in her
efforts. Karen does her good works quietly without a lot of fanfare and not for public
recognition or to enhance her social position.

It is inspirational to see how Karen takes care of her elderly mother who lives close to her. She
and her mother have a very close relationship, and Karen not only takes care of her physical
needs but also includes her mother in as many activities as possible, takes her to visit relatives,
even takes her on short trips just for pleasure. It would be devastating to her mother if Karen
wasn't able to be with her.

My own family went through a serious crisis recently, and I could never express how much her
empathy and caring meant to us. Not only was she very supportive emotionally, but she also
offered wonderful options to explore for help that made a significant difference in our lives.

I know that Karen pled guilty to the charges against her, and I know that she is extremely
remorseful for what she did. I know it was wrong also, but I have to say that I can almost
understand in a way due to my own experience. I have a wonderful adult son, but he was a
challenging child. Like Karen's son, he struggled as a student. From the time he entered school,
it was a constant and often tiring struggle to keep him focused, keep educators and
administration engaged in his success, and most of all keep my son's self-esteem from
plummeting in the process. Years and years of a relentless struggle can take a toll, so I
understand the frustration and exacerbation she must have felt when she made that fated, wrong
decision. I know that Karen will appear before Your Honor soon for sentencing. I know, and
       Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 17 of 56




she fully admits, that she committed a criminal act, and I cannot express how deeply she regrets
it. It certainly isn't an action that she would ever do again. She and her poor mother and the rest
of her family have already paid a huge price for this crime. Karen knows that her sterling
reputation has been destroyed due to her actions, and her whole family is devastated. I told her
recently that things won't always be this bad and to remember that this too shall pass. She
replied that she knew it would pass, but she doesn't know how she can get over looking at the
heartbreak in eyes of her son and her mother.

I'm hoping and praying that Your Honor will have leniency in the sentencing. She has never
committed a crime before in her life nor will she ever again. Karen is at her best when she is
giving back to those in need; it would be disservice and a detriment to her family and community
to take her away from doing that for any length of time.

Thank you for the opportunity to speak on Karen' s behalf and for Your Honor's consideration of
her sentence.

Very sincerely,




Janice Hawthorne
    REDACTED
Newport Beach, CA 92663
       REDACTED
Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 18 of 56




                     TAB 7
                        Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 19 of 56




January 4, 2020



Honorable Allison D. Burroughs
United States District Judge
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Courtroom 17, 5th Floor
Boston, MA 02210
    Re:    Karen Littlefair



Dear Judge Burrows,

 I am writing to you concerning my dear friend Karen Littlefair. I have known a
Karen close to 40 years. If I were to describe Karen in one word it would be
selfless.

I remember meeting Karen for the first time in college. I was not happy with my
living arrangements so Karen offered the empty bed in her room to me- a
somewhat stranger. She didn't really know me, but recognized someone in need
and offered help.

Post college I was struggling with my career path and first job decisions. Karen
had been working in Washington DC for some years. She counseled me and
encouraged me to go out of my comfort zone and move to across country and try
working in the government sector. I did and it was one best life choices I have
ever made. It jump started my life and lay the basis for my career in the future.
Again, Karen went out of her way to help.

When myself and my two sons made the difficult choice to leave their father after
22 years of marriage, who offered her children's bedrooms and a safe place to
stay - Karen. Who helped navigate the difficult road of divorce, attaining lawyers,
new housing, and therapy for the family - Karen.
                         Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 20 of 56




I was with Karen the day she was diagnosed with breast cancer. Her biggest
concern was not to burden her family with this news. Again, Karen putts others
before herself. After undergoing treatment at our local hospital Karen wanted to
give back to the cancer center which aided in her recovery.
 She has subsequently organized and chaired a local fundraiser for the last 15
years donating over $200,000 back to the cancer center.

 As I write this letter I am reaffirmed of Karen's giving, selfless manner that 1 have
witnessed through our 40 year relationship. I am not the only person who has
 benefitted from Karen's giving sole. Karen is the first person to welcome a new
neighbor. She is the first person to organize food delivery to an ill friend. She is
the only person I know that gives so much of herself to others expecting nothing
in return.

Judge Burrows, please do not remove Karen in anyway from her family and
community. She is needed by so many and I know Karen is remorseful for her
mistake and will continue to serve her family and friends in need as she always
has. She has realized the gravity of her mistake and could continue to help others
- maybe someone in a similar situation as she is in. Karen is more than a friend
to me. She has been a role model, rock to lean on and chair to find comfort. I
intend to be there for Karen in any capacity she needs through this processes as
she would for me.

Respectfully yours,
cY;r/"'- --jJ . /
Linda H. Phillips
    REDACTED
Montecito, California 93108
Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 21 of 56




                     TAB 8
       Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 22 of 56




December 17, 2019



Honorable Allison D Burroughs
United States District Judge
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Courtroom 17, 5th Floor
Boston, MA 02210

Dear Judge Burroughs,


I am writing to you in support of my friend Karen Littlefair. Karen and I have known each other
for over 13 years. I first came to know Karen as her physical fitness trainer. As we begin to get
to know each other, we very quickly realized that we both have a heart for serving others;
especially those in need. One example of her serving spirit was how for several years Karen
would buy several Christmas trees each year from a local fund raiser and then, I would
distribute the trees to members of the church or anyone else that I came across that was
having trouble at Christmas time. Another time, she and I helped raise soccer equipment and
soccer balls for a friend from my church who was asking for help by the donation of soccer balls
and equipment to give orphaned children in Africa a little joy. My friend was hoping to get a
few balls and a maybe a handful of equipment to take with her to Africa. By the time Karen and
I were done reaching out to family and friends; there was so many balls that that the only way
to get them all on the plan was to deflate them all in order to make room for the amount of
soccer balls and equipment that was gathered. Again, this was a person that I knew, but when I
shared with Karen about the need someone else was in, Karen went to work. Karen is quick to
see or hear of a need and figure out a way to help those in need.
 Even when Karen was diagnosed with breast cancer and having some really bad days due the
effects of her chemotherapy, there were many days that she would hear about someone being
in need and she would find a way to help them out. I specifically remember a time when Karen
was extremely exhausted from her Cancer and the treatments when she realized that there was
a need to fill for other people going through cancer at the facility she was being treated at. She
realized that there were small touches and improvements to the environment at the treating
facility that could be made to help others dealing with the deadly disease more comfortable, so
she got together with her family and friends and raised funds to see those who were suffering
and/or in pain would be made more comfortable; and she wanted to do it even if it helped
some just a little. In our many years of friendship I have seen firsthand how Karen Littlefair can
be and has been an angel of joy to others in need.
       Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 23 of 56




When I speak of Karen helping others in need, that includes myself as well. As a black man who
has lived in Santa Ana, California since I was about 5; I was used to going to places and being
the only man of color in the room. And when I decided to go back to college as a SO year old
man to get a degree in Psychology; I found that many times not only was I the only person of
color in the room, at times I was also the oldest person in the room. When I say the oldest
person in the room that most of the time included the teacher. At some point I spoke with
Karen about how much this distracted me; Karen not only gave me words of encouragement;
she became one of my biggest cheerleaders and sounding boards. When I graduated from
Vanguard University in 2017 with my Psychology degree, I not only thank my wife and kids for
helping me accomplish my graduation goal; I also thank Karen and her family for their support
and encouragement.
I believe that we all have at least one of three things that we can use to serve others; those
three things are Time, Talent, or Treasure. When I shared with Karen that I was looking for a
place to temporarily volunteer as part of my Psychology graduation requirement; she and Mr.
Littlefair gave me a letter of recommendation to a non-profit called Youth Employment Services
(YES). YES prepared high school students for going into the work world. We gave guidance on
how to dress for an interview, write a resume, find companies who were hiring, and most of all;
because YES was located in an underprivileged part of Orange County; we helped many young
men and women break the cycle of nonbelief that they could succeed ... even if their parents or
peers were telling them they couldn't. Because of all the good YES was doing with the youth in
that community, I continued to volunteer there after graduation until we moved to Texas last
year. I am so grateful that Karen and Mr. littlefair introduced me to YES; and the management
at YES stated that they too are grateful that Karen and Mr. Littlefair introduced me to YES,
because of my positive impact to so many of the students that found success through the
organization.
Judge Burroughs, it is with a humble heart that I ask you to please consider a directed probation
for Karen instead of time in jail. Please consider giving her the opportunity to use her gifts of
helping others in way that her soft heart, pleasant smile, and natural talent for serving would
help others not make the same mistake.


Sincerely,

1/~A~
Vincent Adams
    REDACTED
San Antonio, Texas 78245
Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 24 of 56




                     TAB 9
       Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 25 of 56



JOHN C. CLEMENS

January 5, 2020

The Honorable Allison D. Burroughs
United States District Judge
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Courtroom 17, 5th Floor
Boston, MA 02110

Re: Karen Littlefair, character reference letter.

Dear Judge Burroughs,

       As an introduction, I have been a stockbroker for 40 years and my wife
Bitsy, has been a long time stay at home mother to our three grown children.
She is now operating as a professional Grandmother to our four
grandchildren.
   In 1985, we were asked by a client of mine if we would welcome Karen to
Amarillo as she transitioned from Southern California to the Texas
Panhandle. Not an easy task for anyone! For one reason or another we were
instant friends and have remained friends for going on 35 years. It all started
with dinner in Amarillo those many years ago to most recently sharing a meal
in Newport Beach this last week. While most would suggest a relationship
separated by 1,000 miles might fizzle, they do not know our friend Karen.
   We were saddened to see Karen move to Dallas but were glad that she
was only a brief Southwest Airlines flight away. Upon one of our many visits,
we arrived in Dallas to a sweltering 100-degree heat and 100°/o humidity. At
the time Karen was extremely pregnant, upon seeing Bitsy, she asked "will
you please just rub my feet?" True friendship attained! It seemed Karen
rarely asked for help, because was always giving of herself to others.

A few words come to mind when we think of Karen:
   • Wife, with a long-term committed marriage
   • Mother, which in this day in age is no easy task
   • Confidant, when asked provides sound and valued advice




                    REDACTED        AMAR ILLO   ~x   78109   REDACTED
         Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 26 of 56



  JOHN C. CLEMENS

     • Caregiver, and support to my wife Bitsy through her breast cancer
       battle, as Karen a survivor herself showed empathy, love, and
       guidance.
     • Philanthropist, Community Volunteer to various non-profits notably the
       Chairwoman of Haag Hospital Breast Cancer for hopeful cures.

         Karen has a gift for design, be it for weddings, parties, birthdays, or
  simply advice on a paint color. She puts these gifts to good use through
  hosting of various community events and gatherings. Karen is always so
  open to the giving of her time to anyone who needs her help.
          She is always the consummate host to friends, new acquaintances,
  and especially family. We have seen it many times and most notably on 4th
  of July. While visiting Karen in her new home in Newport Beach she invited
  us to attend a cookout. I was asked to cook ribs for the group. Quite a
  daunting task, but who could turn Karen down. What was to be a few
  friends, both sons, and the grandmothers. Word got out, and the guests kept
  coming, at least twice what I expected. Pending panic attack for me. For
  Karen, no problem. Always prepared for any twist or turn, out came more
  food, more ice, an extra gallon of tea. Just another successful get together
  at Karen's and a good time for all.
         After all these many years, Karen, is just as now reliable and authentic.
  If she commits to something, consider it done. She is authentic, never
  pretending she is someone else. She is always our Karen!

       Thank you for taking the time to read our letter. I hope it helps you
  know Karen better as a person. We would never tell you how to do your job,
  but we would like to make a request. If probation is an option, we would
  guarantee you hundreds of lives will be positively affected having Karen
  home, rather than gone.


  Our best to you and yours,



4~and       John Clemens



                      REDACTED        \I\1AFlP LO fX 79189   I REDACTED
Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 27 of 56




                   TAB 10
       Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 28 of 56




January 3, 2020

Honorable Allison D. Burroughs
United States District Judge
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Ste 2300
Courtroom 17, 5th Floor
Boston, MA 02210

Re: Karen Littlefair

Dear Judge Burroghs,

My name is Raymond Bustamante and I have been a personal, lifelong friend of Karen Littlefairs
for the greater part of 40 years. We met in High School at the age of 17 and our friendship has
endured through college (both attending USC in Los Angeles), through adulthood, through good
times and bad and now into our late 50s.

I am writing this letter as a testimonial to Karen's character, values, friendship and overall
upstanding member of society for as long as I have known her. The last 40 years I have seen
Karen enter marriage, raise children and relocate her family from California to Washington, DC.
to Texas, and back to California. And what stands out in my mind, is her unwavering dedication
to her family, friends, and communities in which she has lived.

The eldest child and daughter of an orthodontist and homemaker, Karen throughout her life
has contributed her time and means to benefit the greater good of the community via the
medical sciences. As a Cancer survivor, she supports Haag Hospital Cancer Center in the city she
currently resides, because this is where she became Cancer free. Karen takes to heart her
personal experience and if she can make someone else's life ua little easier" by giving back to
her community, then she does it 100%.

This past holiday season, we both lost a mutual friend from our home town of Huntington
Beach, CA to a brain tumor. Since being diagnosed with this type of Cancer just two short years
ago, our friend Jill Wolfe, had Karen with her every step of the journey until early December.
Karen knew only too well what Jill would be facing If Karen could not heal Jill herself, she
certainly would not allow her to take this journey till the end alone. She was with Jill
throughout many milestones of her illness.
      Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 29 of 56



PAGE 2

While two small examples of Karen's worthiness as a daughter, wife, mother, sister, friend and
contributor to society, I believe that Karen's best restitution for her recent mistake is to be
allowed to continue to make a difference in other people's lives. I truly believe for Karen that
would be to remain active in her community instead of a correctional facility.




Ra   ond Bustamante
            REDACTED
Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 30 of 56




                   TAB 11
   Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 31 of 56



December 17, 2019


Honorable Allison D Burroughs
United States District Judge
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Courtroom 17, 5th Floor
Boston, MA 0221 0

Dear Judge Burroughs,

I am writing to you in support of my dear friend Karen Littlefair. Karen
and I have been close friends since 1978 when she came to live in
Huntington Beach near my home and attending my same high school.
Our friendship spans over 40 years. Karen, whom I consider my
closest friend, has been a constant support in my life for all these years.
At age 13, I lost both my parents to a tragic accident and Karen
through the years truly became one of the main guides of love and
strength for my formative years. She was strong yet gentle but
upfront and fun, with a big Italian voice. She was exactly what I
needed in my life. After high school we also attended the same college,
served in the same sorority and were bridesmaids in each others
weddings. After college she moved to Texas for several years, but we
maintained in constant contact and during the summers were able to
see each other and watch our children grow. Karen has been able to
help me through difficult times like when my husband was diagnosed
with head and neck cancer while my children were in elementary school.
She contacted every doctor she knew from New York to Los Angeles
helping to find the best treatment for my husband. Also through joyous
times, like flying all the way to Tokyo to attend my son's wedding last
year. I cannot imagine a better and more caring friend, she is truly like a
sister to me.

We have husbands whose work life demands a great deal of time away
from home so we have gathered a network of friends over the
years. Karen has always been one to jump in and help- from school
PTA fundraising to heading up Home Tours in support of Hoag Breast
Cancer to just calling and being there when she knows you need her. I
know many of her friends feel the same way I do about her- you feel
Karen truly has your best interest at heart and wants to help make the
   Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 32 of 56



situation better for you. When I was a senior in high school it came to
my sister's and my attention that my aunt who was living in our parents'
home in order to "take care of us" was becoming more volatile and
taking financial advantage of us. My sister was already at college but
Karen and her family took me in. It was a scary time but I knew I had a
friend who supported me even though it was a frightening and difficult
situation to navigate.

Judge Burroughs, I do believe that Karen- and truly society-would be a
woman who would benefit from a directed probation rather than jail
time. She would take this type of sentencing to heart and if given the
opportunity be able to help others not make the same mistake she has,
as she is a very open and forthcoming individual. I believe her voice,
her story of what she did and why for her son, is very relevant in today's
technologically fast moving society. She wants to make sure that no
one else makes this same type of grave error in judgement, that there
are options available. In this way she would be most helpful.

I plan on being by Karen's side through all of this, lending support and
strength like she has done for me and her many friends through out the
years.

Sincerely,




Lauren Killian Mintie
   REDACTED
Long Beach CA 90803
Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 33 of 56




                   TAB 12
               Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 34 of 56

                                                      Rocio Griley
                                 REDACTED         1   Huntington   Beach~   CA   1   92649




January 15, 2020

Honorable Allison D. Burroughs


United States District Judge
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Courtroom 17, 5th Floor
Boston, MA 02210


Dear Judge Burroughs:

I first met Karen Littlefair ten years ago, at the high school our children attended. I can vividly remember
meeting her because she led a group of Mothers in a prayer before each football game. We prayed for not
only our children but for all of the young men playing proudly for their high schools, and we prayed for all of the
families. It was a pretty incredible thing to witness and be a part of but most of all it was wonderful for me to
have met Karen. Since this meeting, we have become close friends and my appreciation for her faith, kindness
and generosity has strengthened our friendship.

Throughout the last ten years, I have witnessed Karen give of herself to so many. I have seen her give love and
compassion to strangers, pray with people who are hurting and have seen her be an integral part of her
community and church. Her kindness has helped so many.

The decision to use Mr. Springers services, has obviously had tremendous repercussions, not only for her but for
her family, whom she has loved, nourished, and protected.

Judge Burroughs, please consider leniency for Karen Littlefair rather than incarceration. I believe that as
mothers, we teach our children that mistakes are our teachers, a lesson, a necessary and temporary detour,
but not a dead end. Karen is a bright light and I know that she will put her heart and soul into helping others in
her neighborhood, church and charities. Thank you for your consideration.

Respectfully yours,




~2~ington        REDACTED                   Beach, Ca 92649
Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 35 of 56




                   TAB 13
                Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 36 of 56


       MATER DEI HIGH SCHOOL                                                                           BRUCE R. ROLLINSON
         1202 West Edinger Avenue                                                                       HEAD FOOTBALL COACH
           Santa Ana, CA 92707                                                                              REDACTED




              1991, 2017 & 2018                           1994, 1996, 2017 & 2018            1956-57-60-65-91-94-96-98-99-2017 & 2018
         California State Champions                    USA Today National Champions                     CIF-SS Champions



December 30, 2019


Honorable Allison D. Burroughs
United States District Judge
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Courtroom 17, 5th Floor
Boston, MA 02210

RE: Karen Littlefair


Dear Judge Burroughs,

It is my sincere pleasure to have this opportunity to write to you on behalf of Karen Littlefair. I first met Karen
in June of 2005 at our incoming Freshman Football Parent Information Night. At the end of the meeting I
distinctly remember Karen coming forward to say that she and her husband, REDACTED , would be willing to lend
a helping hand to the Football Program in any capacity needed. A decade and a half, and two sons later, Karen
continues to lend support to the Mater Dei Football Program.

Karen’s support for Mater Dei Football began with Freshman Football in 2005 and has not ended. Karen was
always generous with her time and talent in every aspect. During the grueling two-a-day practices she
organized snacks and drinks for the players. Behind the scenes, anonymously, she also provided lunches for
the players less fortunate. Karen opened the Littlefair home for dinner and housing to cut down long distance
commute time for players who lived further away. Karen’s hospitality was genuine and motivated by a sincere
interest and concern for athletes of all backgrounds.

In 2007 Mater Dei Football launched an outreach program called Monarchs for Marines. The mission of
Monarchs for Marines is to provide tangible support and encouragement to the Marines serving in Iraq and
Afghanistan and their families living on or near Camp Pendleton. Karen has been involved since the very
beginning and her support continues to this day. When her sons were on the football team Karen participated
in each annual M4M Day - an action-packed, fun-filled day at Camp Pendleton that included a youth football
camp, dance camp, whimsical face and hair painting, a bounce house for the tiny tots, and a BBQ for 2500
Marine families. Karen did it all with enthusiasm and passion - coordinated volunteers, cooked burgers,
picked up trash and cleaned up at the end of the day.

        1991 Angelus League Champion   1992-93-94-95-96-97-98 South Coast League Champion 1999-2003-2004-2005 Serra League Champion
                                              2007-2008-2016-2017-2018 Trinity League Champion
                Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 37 of 56


       MATER DEI HIGH SCHOOL                                                                           BRUCE R. ROLLINSON
         1202 West Edinger Avenue                                                                       HEAD FOOTBALL COACH
           Santa Ana, CA 92707                                                                              REDACTED




             1991, 2017 & 2018                            1994, 1996, 2017 & 2018            1956-57-60-65-91-94-96-98-99-2017 & 2018
        California State Champions                     USA Today National Champions                     CIF-SS Champions



Although Karen’s sons are now grown, she continues to support the Football Program and Monarchs for
Marines. Mater Dei is a private, Catholic, high school with over half of the student population on financial aid.
Karen has been instrumental in supporting financial aid for the need-based athletes and her enthusiasm and
compassion has truly helped change the trajectory of the lives of these student-athletes. Additionally, Karen
has spearheaded a Toy Drive for Monarchs for Marines and that outreach has become an annual December
event. Hundreds of gift cards and toys are delivered to Camp Pendleton for the children of the 1st Marine
Division. Karen has a big, kind and beautiful heart. She gives willingly and selflessly of her time and loves
helping others.

What I admire most about Karen is her positive approach to life. She is compassionate and caring, optimistic
and idealistic, and she has such a positive effect on those around her. I respectfully request, Your Honor, your
consideration of leniency regarding Karen’s sentencing. I believe that in the years to come Karen will continue
to be a contributing and vital member of her community and Church.

Sincerely,


Bruce R. Rollinson
Head Football Coach
Mater Dei High School




        1991 Angelus League Champion   1992-93-94-95-96-97-98 South Coast League Champion 1999-2003-2004-2005 Serra League Champion
                                              2007-2008-2016-2017-2018 Trinity League Champion
Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 38 of 56




                   TAB 14
   Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 39 of 56




         Jenna Roman •    REDACTED      Newport Beach CA 92663 • REDACTED
                                      REDACTED



December 19, 2019




Honorable Allison D. Burroughs
United States District Judge
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Courtroom 17, 5th Floor
Boston, MA 02210

Re: Karen Littlefair

Dear Judge Burroughs:

I have known Karen Littlefair for eight years, as a neighbor first and not long after, as
a dear friend. From the moment I met Karen, I knew this was someone I wanted as a
friend. Karen's kind, beautiful heart comes through immediately and just draws you
to her. When we were new to the neighborhood, she welcomed my family and me
so warmly and went out of her way to introduce us to others. As I have gotten to
know Karen, I have seen and personally experienced that she is always that shoulder
to lean on, that person that is always there for you. This practice she continues
today, even when she is the midst of her own legal troubles. Karen is also incredibly
compassionate and generous, dedicating much of her time, efforts and talents to
philanthropy and helping those in need. I have immense love and respect for my
friend, Karen. She has been a role model to me; I endeavor to lead my life with the
same integrity, consideration, kindness, and selfless love for others that Karen has
shown.

Earlier this year, our family was faced with devastating crisis. The first person I
thought to call when it first happened was Karen. True to form, Karen dropped
everything to be there for me. She was an amazing listener and was able to calm me
down and give me strength and hope. Together we developed a plan to deal with the
crisis. If it hadn't been for Karen, I don't know where our family would be today. Her
friendship, wisdom and assistance saved us. All the while, she was dealing with her



                                                                                   Page 1
   Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 40 of 56




         Jenna Roman • REDACTED , Newport Beach CA 92663 • REDACTED
                                REDACTED



own personal crisis with this court case, unbeknownst to me. Yet another example
of Karen's selflessness.

Karen fund raises tirelessly for local organizations. I have had the pleasure of working
with Karen on the Lido Isle Home Tour Committee for over five years now. Proceeds
from the home tour benefit the Haag Hospital Family Cancer Center, a cause near
and dear to Karen's heart, since she, herself, is a cancer survivor. This year, Karen
agreed to have her own home on the tour. Many people decline to have 300+
strangers touring your private spaces, but Karen sacrificed her privacy for the sake of
the patients of the cancer center. Karen pours her whole heart into making that tour
a huge success. She just wouldn't have it any other way, it's who Karen is. She
fearlessly negotiates with vendors best pricing to keep costs down, she hunts for the
very best boutique vendors to ensure high sales and profits for the charity, and she
sends out invites to the tour night and day to get people to attend, she doesn't stop
until the day of the tour. She is the most hard-working, diligent volunteer I've seen.
She cares deeply about the cause and is profoundly committed to giving them the
largest check possible at the end.

Karen also still raises money for her two sons' high school. It is a private catholic high
school and 55% of the students require financial aid. Karen saw how the money she
helped raise while her sons were in school there made a difference in the lives of
those in need. It really resonated with her and she continues to be committed to
help those kids and the school meet their fundraising goals. It is very inspiring to see
Karen's passion for these kids. It is contagious actually; our daughter attends the
same high school currently and we donate more because we see Karen's long-
standing support.

Karen did make a serious mistake; I fully understand the gravity of this case. She has
admitted her wrongdoing, though, and this is but one misstep in a lifetime of good
works. I hope that the court will have leniency on Karen's sentencing as her
invaluable talents are needed in our community. I understand her sentencing will
likely be in the Spring and that is just about the time we start work on the Home
Tour. She is an irreplaceable part of our committee. But for her efforts in securing
the vendors and attendees, we would not be able to present the same sizeable check
to the cancer center they need and deserve. I believe society, and specifically our



                                                                                   Page 2
  Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 41 of 56




         Jenna Roman • REDACTED , Newport Beach CA 92663 • REDACTED
                                    REDACTED



community, would suffer should Karen be sent to prison. I would respectfully
request leniency and urge Your Honor to consider probation for my friend, Karen.
She is not only a champion for those less fortunate, but an ambassador of goodness
and hope in her neighborhood and community at large.

Respectfully yours,




                                                                              Page 3
Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 42 of 56




                   TAB 15
       Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 43 of 56




January 15, 2020

Honorable Allison D. Burroughs
United States District Judge
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Courtroom 17, 5th Floor
Boston, MA 02210

        Re:     Karen Littlefair

Dear Judge Burroughs,

My name is Christine Hahn, my family met Karen Littlefair and her family at Mater Dei High School in
2006 our boys played varsity sports together. REDACTED Littlefair and my youngest son Jason quickly
became very good friends they are still very close friends today. During our son's high school time we
lived about SO minutes for the High School campus and it was Karen that would invite them over for
dinner, she provided an after-school spot to rest before games, soon her family became my son's
second home and a great family friendship began that to this day we are extremely grateful to all her
generosity and we cherish our longtime friendship with all the Littlefair's.

It is always during a time of need that true friendships, love, generosity, unselfish acts of kindness come
from places you would never imagine. February 2011 our family experienced an unimaginable tragedy,
our oldest son Cory playing in his first collegiate baseball game at Arizona State University suffered a C-6
spinal cord injury while sliding into second base. My husband was luckily at the game, I was back home
in California with our youngest son Jason helping him get ready for his winter formal at Mater Dei, as
news spread one of the first calls I received was from Karen offering any assistance that our family may
need, she took Jason in with her family while my husband and I spent 7 days at Burrows Hospital in
Phoenix trying to figure out what to do next. Her kindness did not stop at providing a temporary home
for Jason, she reached out to Casa Colina Rehabilitation Hospital in Pomona California to arrange for
Cory to be cared for by one of the best spinal trauma centers and for him to be treated by their top
physicians. Cory is paralyzed from the chest down his life forever changed, the medical needs that are
unimaginable from rehab, to special equipment, home modification, special vehicle needs are costly. In
Aug of 2011, a group of friends including Karen Littlefair came together to put together an annual golf
tournament as a fund raiser for our family, that continued for 4 years until our family moved to Arizona
for Cory to continue his education at ASU, graduate with a Business Degree and eventually be hired by
the Arizona Diamondbacks. This most amazing golf event took hours, weeks and months of planning,
solicitation of corporate sponsorship, and day of event tasks to make such a wonderful event come to
life and that takes dedication that only comes from a place of love, family and friendship. During this
time Jason was finishing his high school years, I cannot count the number of nights, meals, how he was
included in family vacations, any assistance he needed she was there for him, a place to feel loved and
secure that is what Karen provided to Jason, she became a second mom to him, they have a very special
relationship that is so touching and treasured .




                                                      1
       Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 44 of 56



Now even as we live in Arizona the Littlefair family is still part of our family, REDACTED and Jason our still
close friends who talk and visit often. Their family will always hold a special place in our hearts as they
have touched our family in such a way that we can never thank them enough or express to them how
much their friendship means to us. I do not believe that prison time is what Karen should receive, she
has so much more to offer this world, she can do so much more for others, the community, by not
serving prison time. I respectfully ask you to consider leniency for Karen as it pertains to these charges.

Respectfully yours,




     REDACTED

Scottsdale, AZ 85258

REDACTED




                                                       2
Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 45 of 56




                   TAB 16
     Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 46 of 56



January 14, 2020



Honorable Allison D. Burroughs
United States District Judge
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300Courtroom17,5th Floor
Boston. MA 0221 0



Dear Judge Burroughs,


RE: Karen Littlefair


I have known Karen Littlefair since July 2016 when she and her husband
joined a group of friends on a photographic and cultural excursion to
Kenya. I was leading this safari and spent two weeks with the group and
got to know Karen well. She was, and is, a lovely, warm caring lady and I,
and the group, enjoyed her company enormously.

Whilst we were in Kenya we happened to visit a Masai Village in the
Amboseli National Reserve, where Karen Littlefair and her husband,
REDACTED
         , met and chatted with a young Masai, Richard REDACTED , (known
as Ritchie), who had just finished high school. Unbeknownst to me they
struck up a friendship with Ritchie and decided to sponsor him for his
further education. Karen and REDACTED have since paid for this young man
to go to university in Nairobi, the capital city of Kenya, and have not only
financed his education, but have paid for all his living expenses and more.
This chance meeting in the middle of Kenya has been exceptional for
Richie and has completely changed his life through this one selfless act
from Karen Littlefair and her husband. It has been a very mutually
satisfying relationship and Ritchie absolutely adores Karen, whom he
fondly calls Mom. He is the youngest of 14 children and his father died
when he was very young so life has been hard for him.
     Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 47 of 56



Although I am not directly involved in this situation, I can say unequivocally
that this has dramatically changed the life of Ritchie. I know this firsthand
as I return to Kenya every year and meet up with him to see how he is
doing. He is passing all his exams and graduated this past July. He is now
in graduate school, continuing his studies, again thanks to Karen and
REDACTED
         .

Karen is very involved with encouraging and helping Ritchie as she sends
me his grades like any proud mother. He was able to get a wonderful
internship in Nairobi and will no doubt get a much sort after job. He is
committed to helping his community in his village and has Karen and
REDACTED
         Littlefair to thank for giving him the leg up he needed.

This young man has benefited tremendously from not only the financial
help given by Karen Littlefair but from the genuine love and support she
has offered him. Your Honor, please consider the most lenient sentence
for Karen. I know she is remorseful for her mistake and I am confident that
she will always to be committed to Ritchie and his continued education and
life ahead. She is in it for the long run and will be a generous, caring figure
for him in the future.

Respectfully yours




Valerie Botta
       REDACTED
Pasadena
California 91105
Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 48 of 56




                   TAB 17
      Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 49 of 56




                              ANN PELLETIER LANE
                                        REDACTED
                             ARLINGTON, VA 22202




April 28, 2020

The Honorable Allison D. Burroughs
Unites States District Court
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Courtroom 17, Fifth Floor
Boston, MA 02210

RE: Karen Littlefair

Dear Judge Burroughs:

Karen Littlefair and I met 25 years ago at a reunion dinner attended by a group of our
husbands' former work colleagues. Nervous about leaving our infant with a babysitter
provided by the hotel, I was reluctant to attend the dinner even though it was on the
premises. All the other attendees resided in southern California and had left their children
in the care of grandparents or regular babysitters living in the region. I took an empty seat
at the table next to Karen who I had never met despite our husbands' long term
relationship dating back to the early 1980s. Her warm personality coupled with an
infectious laugh and her assurances that our daughter was in good hands marked the
beginning of a dear friendship that has spanned nearly 25 years despite living on different
coasts. Karen embodies virtually every quality that one seeks in a friend. She is
completely selfless, deeply loyal and seemingly always available to lend a helping hand
whether it be in the form of a listening ear or stepping up to serve as a volunteer at her
sons' schools or in her beloved Newport Beach community. Notwithstanding her current
personal legal challenges over the past months, Karen has continued to be the same
deeply caring, compassionate and trusted confidante with whom I have shared a
friendship all these years.


Our family has been the recipient of Karen's welcoming and gracious spirit,
thoughtfulness and kind gestures. Each member of our family looks forward to our
annual relaxing dinners in the Littlefair home each August while we vacation at my
husband's family home in Newport. It was our oldest daughter, however, who
      Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 50 of 56




experienced Karen's generosity first hand when she lived alone in my husband 's family
vacation home for the duration of a summer six-week internship between her junior and
senior years in college. Faced with an intense internship and grueling physical workouts
in the evening after work to ensure that she returned to peak condition for her college
sport in the fall, I recall mentioning to Karen that she seemed to be losing weight and
missing terribly her cadre of teammates and friends who were back in the Northeast
immersed in their internships. When our daughter arrived home the following evening,
the refrigerator was filled with healthy, nutritious food and a sweet note courtesy of
Karen. She occasionally invited Mollie to dinner and introduced her to other young
people her age. In addition, Karen took the extra step of introducing her trusted contractor
to our daughter advising her to contact him should she need any assistance. She was our
daughter's second mom plain and simple. None of these acts were requested or expected,
but nonetheless paint a beautiful picture of Karen 's thoughtful, kind-hearted spirt.

Karen Littlefair .,s generosity of spirit extends far beyond that of her personal friend
network. She has long been a supporter of her sons' high school and wrote the playbook
for me as I followed in her footsteps and navigated high school sports with my three
children. Any success I achieved as "team mom" should be attributed in part to Karen 's
wise counsel. Most recently in September 2019, my husband and I witnessed Karen's
continued interest in and commitment to her sons' high school when we learned that the
football team would be traveling to Washington, D.C. to play a local team. She shared
with us that a majority of the team was on financial aid (as are the majority of students
who attend the school) and that many of these young men would be traveling cross-
country for the first time. She specifically asked if we would help arrange tours of the
U. S. Capitol, meetings with members of Congress and a team dinner (that she and her
husband would host) as she wanted the trip to provide an additional educational
opportunity for the players beyond high school football. Her continued commitment to a
high school at this level nearly a decade after her sons graduated is remarkable and
speaks volumes about her commitment to creating enriching learning and educational
opportunities for young adults.

Emotional support is the cornerstone of Karen 's persona and is the solid foundation upon
which her family and friends have come to depend. She was the first person who I called
outside family after learning of the death of my mother in March 2018 . In my grief, I had
forgotten about the three-hour time difference. Karen answered the call with her
predictably upbeat hello followed by words of solace filled with warmth, empathy and
compassion. There were multiple conversations down the road where I sought advice
knowing that she had endured the deaths of her beloved dad, brother-in-law and father-in-
law in recent years. Of all my wonderful friends, no one seemed to understand better the
aftermath faced by those left behind after the death of loved ones. I recall watching from
      Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 51 of 56




afar as she meticulously and sensitively oversaw the sale of longtime family homes and
assisted her mother and mother-in-law move into new homes . She was particularly
attuned to the importance of having aging parents in close proximity to their children and
grandchildren and saw to it that they were relocated within five minutes of her family's
permanent home. Today, she remains the constant, almost daily, presence in the lives of
her mother and mother-in-law seeing to it that family dinners are routinely planned and
that their needs, whether they be medical or otherwise, are addressed in a timely manner
all the while being sensitive to their wishes to remain as independent as possible. I am
well aware of this challenging, all consuming scenario as my father is living
independently at 98, so my respect for Karen and how she meets these challenges is
immense.


In closing, I have only known Karen to be the person I described above - a trusted
confidante of high character who is generous, compassionate, dependable, loyal and
dedicated to bettering her community. Karen made a terrible mistake for which she has
accepted responsibility and accountability. Given her exemplary lifetime contributions
and her critical presence in the lives of her most senior family members, I am hopeful
that the Court would consider probation at such time that a sentence is rendered.

Respectfully yours,


Ann Pelletier Lane
        REDACTED
Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 52 of 56




                   TAB 18
             Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 53 of 56

Deborah B. and John C. Crouch
   REDACTED
Palo Alto, CA 94301

December 23, 2019

Honorable Allison D. Burroughs
United States District Judge
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Courtroom 17, 5 th Floor
Boston, MA 02210

Your Honor:

We are writing in support of our dear friend Karen Littlefair, in the matter of online coursework at
Georgetown. We have been close friends of Karen and REDACTED for over twenty-five years, dating to our
t ime as neighbors in Dallas, Texas .

We were present for the birth of their sons REDACTED and REDACTED ; we held them both on the day they were
born. We were suffering fertility issues at a time when many of our dear friends were starting their
fam ilies. After some heartbreaking setbacks, we pursued adoption . Karen and REDACTED wrote an
absolutely lovely letter of recommendation in support of our application .

On the first night we returned home with our newborn son William, Karen had arranged fo r our entire
neighborhood to shine their headlights on to our front yard in celebration. She then filed everyone
th rough the house to greet us-- and knowing how exhausted and emotionally drained we we re, just as
promptly shepherded them all out!

Even as both our fam ilies moved away from Dallas, we have continued to raise our sons together. We
have travelled together and visited each other' s homes so extensively that there is no doubt we have
shaped and helped raise each other' s sons . Our eldest son attended Chapman Un iversity, not far from
the Littlefair' s home. Karen provided William with home cooked meals and a home away from home.
More importantly, she was a steadying, loving, supportive presence during the inevitable ups and downs
of his college life.

We know Karen to be a woman of strong faith. Everyone makes mistakes; we believe Karen ' s we re
motivated solely by the best of intentions. Incarcerat ion is in no one's interest, and we ask that you
consider that removing her from the friends and family who rely on her does nothing to advance justice.
We have been friends nearly all of our adult lives, and we thank you for considering our remarks .

Sincerely,




Debbie and John Crouch
Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 54 of 56




                   TAB 19
       Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 55 of 56




January 7, 2019

Honorable Allison D. Burroughs
United States District Judge
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Courtroom 17, 5th Floor
Boston, MA 02210

       Re:     Karen Littlefair

Dear Judge Burroughs

I am writing to you in support of Karen Littlefair. Karen has been my friend for almost 20
years, Our families have shared the best of times and the worst of times. Karen has always
been there for me, and I will be there for her. It is my hope that by sharing some of my
experiences you will realized that Karen is a positive force to her family, friends and society and
sending Karen to prison would be detrimental to all concerned .

Karen and I met on the phone on 9/11. I was in New York City on business the day the Towers
were destroyed and over 2000 people perished. My husband and two small boys were in
California getting ready for school. When the news announced the tragedy, school was
cancelled and my husband was a wreck. He did not know what to do. He has recently been
introduced to the Littlefair Family through Indian Guides and school. Karen found out that
Kevin was alone with the boys, and immediately invited them over and helped with phone calls
to relatives, and calmed his concerns by distracting him and the boys. On one of my calls back
to Kevin to assure him I was OK- Karen grabbed the phone and said "Hi, I am Karen Littlefair
and I 've got your back. Your husband and boys are fine and we will make sure we keep them
busy until you return. God Bless America and be safe". Karen went above and beyond to help
my family.

Our boys were about the same age, and our friendship flourished . We went on ski holidays,
shared sport teams, had dinner at each other's homes, and created a Christmas tradition on
December 23rct of every year. Karen was quick to organize welcome parties for new neighbors,
include us in fund raisers (Cancer is her cause), use any influence she has to connect people with
the best doctor, the best dentist or even a new job opportunity. Karen is a great mom, a loving
and caring wife and an enthusiastic friend .. She is generous, selfless and innovative . She cares
about others.

In July 2006, my husband died suddenly of heart disease. I was left with two boys- ages 15 and
11. Karen arrived at my home- among the chaos of "that day". She downshifted into practical
mode. She organized meals to be delivered, helped plan the memorial service and most
importantly made me get my hair done and look presentable (sounds shallow- but really
        Case 1:19-cr-10463-ADB Document 30-2 Filed 07/08/20 Page 56 of 56




needed to be done ! !). Karen continued to closely monitor me. She would stop in for a short
visit, invite my boys to her home and make sure our family was doing well.

Karen loves to have her friends and family together. This brings her joy. Karen cares deeply for
her family. Over the years I have gotten to know her brother (dentist), sister,( aesthetician)
mother, father (retired dentist) and aunts and uncles. Karen has a loving and fun family. When
they get together it is a spontaneous evening of, singing, joy, food and laughter. When her
father passed away a few years ago, she spoke passionately at the service. When her sister's
husband died suddenly and horribly, she was there for her sister emotionally and financially.
Karen continues to be responsible for Gloria, her mother. She is also responsible for her
husband's mother who requires daily care.

Karen Littlefair gets things done !! Two years ago, I was miserably in pain. I needed back
surgery. The first person I called was Karen. She jumped into action. She highly recommended
Dr. Louis- who she had gotten to know personally when she was taking care of her mother
(Who also needed surgery) . Of course Karen know the right doctor. Flash forward two years-
I had the surgery from Dr. Louis, and feel terrific. This is only one of a score of examples of how
Karen has helps people. Our dear friend Kelly was diagnosed with Stage 4 anal cancer. Karen
used her influence to get Kelly into a highly sought after trial at MD Anderson. Another friend
has breast cancer- and the first person she called was Karen. The list goes on. Karen has that
special ability to help people. And do this without asking for anything in return.

Judge Burroughs, it is my understanding that there is a possibly of probation for Karen. If so, I
ask that you consider the examples of Karen's character and her actions as great friend, loving
wife, mother, daughter, and sister. I have been in Karen's confidence during this ordeal. She is
not concerned with herself. She is most worried for her sons, her mother and her husband.
She is scared, repentant, and resigned to her guilt. She will live with her choices for the rest of
her life. I can attest that a prison sentence would cause more pain to her family that to Karen.
Please consider probation.



Respectfully yours,




   REDACTED
Laguna Beach, California 92651
